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14 THE AFFILIATI NETWORK, LLC and SANJAY PALTA

15                                 UNITED STATES BANKRUPTCY COURT

16          CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION

17 In Re:                                          Case No: 1:20-bk-10026-VK
   JOSEPH WANAMAKER
18             Debtor                               Chapter 7
19
                                          Adv. No: 1:22-ap-01038-VK
20 THE AFFILIATI NETWORK, LLC, a
   Delaware Limited Liability Company fka
21 THE AFFILIATI NETWORK, INC., a         STIPULATION TO: (1) EXTEND PRE-TRIAL
   Florida Corporation, and SANJAY PALTA, DEADLINES, FACT DISCOVERY DEADLINE
22 an individual,                         AND      TO     SET     EXPERT     DISCOVERY
                    Plaintiffs,           DEADLINES;      AND    TO   (2) CONTINUE    PRE-
23                                        TRIAL   CONFERENCE
   vs.                                    Current Pre-Trial Conference
24
                                          Date: January 24, 2023
   JOSEPH WANAMAKER,                      Time: 1:30 p.m.
25
                                          Ctrm: 301
26                  Defendant.            Location: 21041 Burbank Blvd, Woodland Hills,
                                          California 91367
27

28

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 1          IT IS HEREBY STIPULATED by and between plaintiffs The Affiliati Network, LLC, A

 2 Delaware Limited Liability Company Fka The Affiliati Network, Inc., A Florida Corporation; and

 3 Sanjay Palta, an individual (together, the "Plaintiffs”), and defendant Joseph Wanamaker

 4 (“Defendant”), through their respective counsel of record (collectively the “Parties”):

 5                                               RECITALS

 6          A.     On or about July 30, 2022, Plaintiffs filed a complaint to determine the dischargeability

 7 of Plaintiffs’ debt pursuant to 11 U.S.C. §§ 523(a)(2), (a)(6) and objecting to the Defendant’s

 8 discharge under 11 U.S.C. §§ 727(c), (d), (e) (the “Complaint”) initiating this adversary proceeding
 9 against the Defendant. This adversary proceeding was assigned Adv. Case No. 1:22-ap-01038-VK

10 (the “Action”) (Adv. ECF No.1).

11          B.     On August 1, 2022, the Court issued a summons setting the answer deadline for August
12 31, 2022 and a status hearing (“Conference”) for September 21, 2022 at 1:30 p.m. (Adv. ECF No.2).

13          C.     On August 3, 2022, Plaintiff issued a request that the Clerk issue another Summons
14 and Notice of Status Conference (Adv. ECF No. 3).

15          D.     On August 3, 2022, the Court issued another summons setting the answer deadline for
16 September 2, 2022, with the Conference set for October 5, 2022 at 1:30 p.m. (Adv. ECF No. 4).

17          E.     On August 9, 2022, Plaintiff issued a request that the Clerk issue another Summons
18 and Notice of Status Conference (Adv. ECF No. 5).

19          F.     On August 9, 2022, the Court issued another summons setting the answer deadline for

20 September 8, 2022, with the Conference set for October 5, 2022 at 1:30 p.m. (Adv. ECF No. 6).

21          G.     On August 9, 2022, the Court issued another summons setting the answer deadline for

22 September 8, 2022, with the Conference set for October 5, 2022 at 1:30 p.m. (Adv. ECF No. 7).

23          H.     On August 23, 2022, the Court rescheduled the Conference to October 12, 2022 at 1:30

24 p.m. (Adv. ECF No. 14).

25          I.     On August 31, 2022, the Defendant filed his Motion to Dismiss the Action (Adv ECF

26 No. 15).

27          J.     On October 13, 2022, the Court ordered the Parties to comply with Fed R. Bankr. P.

28 7026, Fed R. Civ. 26(a)(1) and (f) by October 26, 2022, with the deadline to submit a joint status

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 1 report for the continued Conference date on November 2, 2022, with the Conference continued to

 2 November 16, 2022 at 1:30 p.m. (Adv. ECF No. 26).

 3          K.      On October 17, 2022, the Court entered an order denying the relief requested in the

 4 Motion to Dismiss and setting a fourteen-day deadline for the Defendant to file a responsive pleading.

 5 (Adv. ECF No. 28).

 6          L.     On October 28, 2022, the Defendant filed his answer to the Complaint. (Adv. ECF No.

 7 32).

 8          M.     On November 23, 2022, the Court entered an order setting the pre-trial motion deadline
 9 for June 21, 2023, setting the discovery deadline for June 1, 2023, with the pre-trial stipulation due

10 July 12, 2023, and with the Conference continued to July 26, 2023 at 1:30 p.m. (Adv. ECF No. 34).

11          N.     On February 13, 2023, the Plaintiffs filed a Motion to amend the Complaint. (Adv.
12 ECF No. 36).

13          O.     On March 2, 2023, Plaintiffs substituted lead counsel. (Adv. ECF No. 43).
14          P.     On March 16, 2023, the Court entered an order granting leave to amend the Complaint
15 with the deadline to file the amended complaint (“Amended Complaint”) seven days from the order

16 (Adv. ECF No. 47).

17          Q.     On March 20, 2023, the Plaintiffs filed the Amended Complaint (Adv ECF No. 49).
18          R.     On March 20, 2023, the Plaintiffs issued a request that the Clerk issue another

19 Summons and Notice of Status Conference (Adv ECF No. 50).

20          S.     On March 21, 2023, the Court issued another summons setting the answer deadline for

21 April 20, 2022, with the Conference set for May 17, 2023 at 1:30 p.m. (Adv. ECF No. 51).

22          T.     On April 4, 2023, the Defendant filed a Motion to Recuse judge (Adv. ECF No. 52).

23          U.     On April 19, 2023, the Court denied the Motion to Recuse judge (Adv. ECF No. 55).

24          V.     On April 20, 2023, the Defendant filed an answer to the Amended Complaint (Adv.

25 ECF No. 56).

26          W.     On May 24, 2023, the Court entered a scheduling order (Adv. ECF No. 60) setting (1)

27 the discovery deadline for September 1, 2023 (“Discovery Deadline”); (2) deadline for pre-trial

28 motions for September 15, 2023 (“Motion Deadline”); (3) deadline for the Parties’ pre-trial stipulation

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 1 for October 4, 2023 (“Stipulation Deadline”); (4) setting the pretrial conference for October 18, 2023

 2 at 1:30 p.m.

 3          X.      On August 31, 2023, the Court entered a scheduling order (Adv. ECF No. 63, “Current

 4 Scheduling Order”) setting (1) the discovery deadline for November 30, 2023 (“Discovery

 5 Deadline”); (2) deadline for pre-trial motions for December 14, 2023 (“Motion Deadline”); (3)

 6 deadline for the Parties’ pre-trial stipulation for January 10, 2024 (“Stipulation Deadline”); (4)

 7 pretrial conference for January 24, 2024 at 1:30 p.m.

 8          Y.      The Parties hereby stipulate to and request a brief continuance of the current scheduling
 9 deadlines and the pretrial conference. Counsel for the Parties have been conducting discovery but still

10 have to take several depositions between them. Third party witness Patrick Merrigan, who is a CPA

11 that has been mired professionally in the extended “tax season” in part occasioned by the

12 government’s further extension of this year’s tax deadlines to October 15, has agreed, after subpoena

13 and substantial negotiation, and without motion practice, to sit for his deposition by Plaintiffs on

14 November 29, 2023. Plaintiff Affiliati’s principal, Sanjay Palta, is available for deposition by

15 Defendant between November 28 and December 1, but Plaintiffs and Mr. Palta are also amenable to

16 a reasonable but brief rescheduling of that deposition depending on Defense counsel’s schedule. Third

17 party witness Ron Thomas, a real estate agent, is also under subpoena and is currently negotiating the

18 scheduling of his deposition with Plaintiffs. Third party witness Steven Goodman, Esq., has been

19 served with multiple subpoenas but as of this date is still refusing to sit for his deposition or produce

20 requested documents. Plaintiffs are preparing an appropriate motion to compel in regards to Mr.

21 Goodman after unsuccessfully attempting to cooperatively schedule his deposition.

22          Z.      In addition, Plaintiffs have already served numerous subpoenas upon financial and

23 other institutions and individuals and are completing their remaining gathering of relevant documents

24 by subpoena. A brief amount of time is required to complete this process.

25          AA.     Importantly to the Parties’ within stipulation and request for modification of the

26 scheduling order, there is also an issue regarding completion of expert discovery and production of

27 expert reports. As of now, Plaintiffs intend to proffer one expert witness for trial, forensic accountant

28 John Menchaca. Defendant indicates that he does not intend to produce any expert witnesses at this

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 1 time but reserves the right to designate a rebuttal expert.

 2          BB.     Defendant wishes to take the expert deposition of Mr. Menchaca and would of course

 3 prefer to do so with the benefit of having received and reviewed Mr. Menchaca’s expert report.

 4 Further, Fed. R. Civ. P. 26(b)(4)(A) provides that where the expert must submit an expert report,

 5 “…the [expert] deposition may be conducted only after the report is provided.”

 6          CC.     The Current Scheduling Order (Adv. ECF No. 63, August 31, 2023) provides that the

 7 current “Discovery Deadline” is November 30, 2023. The Parties understood and presently understand

 8 that deadline to be the deadline for fact but not expert discovery.
 9          DD.     If this assumption/understanding is/was in error, the Parties apologize to the Court and

10 request the relief stipulated to and sought herein. Mr. Menchaca’s expert report is not yet complete

11 due to the need for further factual input therein that is expected particularly to result from the

12 upcoming (November 29) deposition of Defendant’s CPA, Mr. Merrigan and the further inputs

13 expected from Plaintiffs’ remaining and final outstanding subpoenas to a few, but key, financial

14 institutions.

15          EE.     Pursuant to Fed. R. Civ. P. 26(a)(2)(D), “absent a stipulation or a court order,” an

16 expert’s report is not due until 90 days before the date set for trial. Although the pretrial conference

17 in this matter has been set for January 24, 2024, the trial date itself has not been set.

18          FF.     Thus, Mr. Menchaca’s expert report is not yet due, and while Plaintiffs nonetheless

19 offered to provide Mr. Menchaca for deposition on November 22, 2023, which is both his and Defense

20 counsel’s only mutually available deposition date prior to the current November 30 cutoff 1, requiring,

21 pursuant to the Current Scheduling Order, that Mr. Menchaca be deposed before the current November

22 30 discovery deadline would prevent Defendant from being able to complete a more fulsome

23 deposition of Mr. Menchaca and would run afoul of Fed. R. Civ. P. 26. Such inadvertent time-jamming

24 would needlessly subvert the resolution of this case on the merits and is unnecessary given the Parties’

25 general cooperativeness regarding discovery since the filing of this adversary action.

26          GG.     Plaintiffs have no wish to deprive Defendant from being able to conduct a fulsome

27
            1
28          Mr. Menchaca will unfortunately be out of the country between November 28 and
     December 13, 2023.
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 1 expert deposition of Mr. Menchaca. No “trial by surprise” is intended by the Parties as far as providing

 2 each other with their respective remaining discovery. Further, the Parties’ counsel have continued to

 3 cooperate collegially and collaboratively in general regarding discovery, and particularly with regard

 4 to witnesses under their control (such as Mr. Menchaca and Mr. Palta). Thus the Parties submit that

 5 good cause exists to modify the Current Scheduling Order and hereby stipulate, propose and request

 6 that the Current Scheduling Order be modified as follows:

 7                                             STIPULATION

 8          NOW THEREFORE, the Parties hereby agree and stipulate that, subject to Bankruptcy Court
 9 approval:

10      1. The Fact Discovery Deadline be continued from November 30, 2023 to January 30, 2024;
11      2. The deadline for the parties to make expert disclosures including expert reports be set at
12          February 29, 2024;
13      3. The deadline for the parties to designate and disclose rebuttal experts and provide rebuttal
14          expert reports be set at March 15, 2024;
15      4. The deadline for the parties to complete expert depositions be set at April 15, 2024
16      5. The deadline to serve and file pre-trial motions be continued from December 14, 2023 to April
17          30, 2024;
18      6. The deadline to file a pretrial stipulation pursuant to Local Bankr. R. 7016 be continued from

19          January 10, 2024 to May 30, 2024;

20      7. The pretrial conference be continued from October 18, 2023 to June 10, 2024 at 1:30 PM or

21          to such other and further date and time as is convenient for the Court;

22      8. The Parties must file a joint status report at least fourteen (14) days prior to the pretrial

23          conference pursuant to Local Bankr. R. 7016-1; and

24          ///

25          ///

26          ///

27          ///

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
    5950 Canoga Avenue,. Suite 400, Woodland Hills, CA 91367


A true and correct copy of the foregoing document entitled (specify): Stipulation to Extend Deadlines and Continue Pretrial
Hearing______________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_11/9/2023________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
stella@havkinandshrago.com,shavkinesq@gmail.com PeterMLively2000@yahoo.com
ustpregion16.lwp.ecf@usdoj.gov dpr@reinerslaw.com, eservice@reinerslaw.com
 marisol.jaramillo@lewisbrisbois.com, AGoldman@iq7technology.com;ecf.alert+Goldman@titlexi.com
                                                                                              Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.




                                                                                              Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______
                                                                                               _, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.




                                                                                              Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

11/9/2023        Stella Havkin                                                               /s/ Stella Havkin


 Date                           Printed Name                                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
